Case 1:05-cr-10008-.]DT Document 27 Filed 07/14/05 Page 1 of 2 Page|D 33

 

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lN THE UNITED STATES DIsTRlCT CoURT JUL 1 " 2005
FoR THE WEsTERN DISTRICT or TENNESSEE mm M_ Go.,.d, C..,k
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w- D. OF TN, Jackson

UNlTED STATES OF AMERICA

vs CR N(). l:OS-lOOOS-Ol-T

GREGORY B. CLARK

ORDER ON CHANGE OF PLEA
This cause came on to be heard on July 14, 2005, Assistant U. S. Attorney,
Jerry Kitehen, appearing for the government, and the defendant appeared in person and with
counsel, J on York, Who was appointed
With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 and 4 of the Indictment.

This case has been set for sentencing on Wednesdav. October 12, 2005 at 8:30

The defendant is remanded to the custody of the United States Marshal.
IT lS SO ORDERED.

JA `f). 'TODD
UN Er) sTATEs DlsTRlCT JUDGE

DATE: / C/ <?//.¢1? §MS/

Thls document entered on the docket sheet ln compliance
with ama 55 and/or 32(b) Fnch on w

   
   

ISTRICT COURT - WESTERN D"'TRCT 0 TESSEE

 

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J on A. York

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

